Case 2:17-cr-14047-DMM Document 22 Entered on FLSD Docket 09/29/2017 Page 1 of 8




                             U NITED STA TE S D ISTR ICT CO U R T
                             SO UTH ERN D ISTR ICT O F FL O R ID A

                          CA SE N O .2:17-cr-14047-M lD D LEBR O O K S

  U NITED STA TES O F AM ERIC A
                                                                                           CGA
  VS.
                                                                            Sep 29, 2017
  SCO TT JO SEPH TRA DE R,
                                                                                    Fort Pierce
                 D efendant.
                                           /


  STIPULA TIO N O F FA C TS A N D A C K N O W LED G M EN T O F O FFE NSE ELEM EN TS IN
                                  SUPPORT O F GUILTY PLEA
         The United States of Am erica,by and through its undersigned A ssistant United States

  Attorney, and SCOTT JOSEPH TRADER (hereinaAer referred to as the tr efendant''or
  CCTRADEW ),togetherwith his counsel,admitthatthe govemmentcan provethe allegations
  contained in a11five counts of the lndictm ent,which charge him w ith:Enticem entof a m inor to

  engageinsexualactivity,inviolationofl8U.S.C.j24224b)(CountOne);Distributionofmaterial
  containing visualdepictions of sexualexploitation ofminors,in violation of 18 U.S.C.jj
  22524042)& (b)(1)(CountTwo);Possession ofmattercontaining visualdepictionsofsexual
  exploitation ofminors,in violation of18U.S.C.jj2252(a)(4)(B)& (b)(2)(CountThree);and
  Production ofm aterialcontaining visual depictions ofsexualexploitation ofm inors,in violation

  ofTitle 18U.S.C jj2251(a)& (e)(CountsFourandFive). TheDefendantalso stipulatesthat
  those allegations and the follow ing recitation of the facts shallconstitute the underlying factual

  basis. These facts are offered forthe lim ited purpose ofthe guilty plea and consequently do not

  contain allofthe factsknow n to the governm entin thiscase:
Case 2:17-cr-14047-DMM Document 22 Entered on FLSD Docket 09/29/2017 Page 2 of 8




                O n or about M ay 30 2017, the Thom asville, N orth Carolina Police
        D epartm ent received a com plaint from the parent/guardian of a nine-year-old
        femalevictim (EEvictim //1'5inCountOneoftheIndictment). Theparent/guardian
        reported hisdiscovery ofsexually explicitchatcom m unicationsbetw een the victim
        andherchatpartnernamedççscott''(lateridentifiedasScottJosephTRADER who
        wasin Florida)on asmartphoneapplication calleditsayl-li.''Theparent/guardian
        provided the victim 's m obile device to police for exam ination. The Thom asville
        Police D epartm entrequested the assistance ofH SIW inston-salem in furthering the
        investigation.

                H S1W inston-salem 's exam ination ofthe victim 's device revealed Sayl'li
        sexually explicit comm unications with TRADER during the m onth of M ay,
        including on the evening ofM ay 30,2017 and into the m orning hoursofM ay 31.
        H SIsaw chats from TRADER to the victim thatincluded,am ong other things,
        num erousrequests from him forthe victim to send him nude im ages. Atfirst,the
        victim provided TR AD ER several pictures of her fully clothed, w hich clearly
        indicated she w asa preteen fem ale. TRA DER also asked the victim ,am ong other
        things,how o1d she w as and she told him she w asnine,to which he replied EçA w ,
        you'reveryprettyforyourage,You looksexyinthosepajamas.'' lnresponseto
        TR ADER'Srequests,the victim eventually sentatleastone photo ofhervaginaand
        one photo of her pulling her shirtup,exposing her nipples. (COUNT 1 -
        Enticementofaminortoengageinsexualactivity). TRADER alsosentthatsame
        victim a child pornography video using Saylli.(COUNT 2 - Distribution of
        materialcontainingvisualdepictionsofsexualexploitationofminors). Thisvideo
        was37 secondslong and showed an adultm alerubbing hispenison thevagina of
        aprepubescentfem ale. TRADER told the victim thatthe fem ale depicted in the
        video washisdaughter(although itappearsthatvictim in thatvideo isnothis
        daughternorisitTRADER). TRADER alsosentavideoofhimselfmasturbating
        to the victim , along w ith a still im age w hich depicted TRAD ER 'S face in his
        bedroom ,along w ith num erousotherphotos.

                 A fter seeing the victim 's phone,H Sl began trying to identify TRA DER .
        Thevictim 'sphoneshowedthatTRADER had aprofileon Sayllithathadapicture
        of his face, along w ith an apparent m inor fem ale. The face depicted in the
        aforem entioned stillim agesenttothevictim m atchedtheprofileimagefortçscott.''
        ççscott's''profilealso listed hisusernam e foranothersm artphone app,called :çK ik.''
        The K ik profile picture also m atched the aforem entioned Eçscott''Saylliprofile and
        still im age pictlzres. K ik responded to an em ergency disclosure request for the
        subscriberinform ation associated w ith the usernam e,indicating the em ailaccount
        associated with the accountwasstraderozz7@ yahoo.com. Kik also provided a
        login history, indicating there were logons to the account from IP address
        76.110.46.234 starting M ay 1,2017,tllrough M ay 31,2017,at 06:36 U TC . The
        IP address w as registered to Com cast; Com cast responded, identifying the
        subscriber's name and home address in Port St.Lucie, Florida (the Ettarget
Case 2:17-cr-14047-DMM Document 22 Entered on FLSD Docket 09/29/2017 Page 3 of 8




        residence'). A check oftheFloridaDepartmentofHighway Safety and M otor
        Vehicle(DHSM V)recordsindicated thatTRADER listed hismailing addressas
        the target residence. TRADER 'S Driver License photograph m atched the
        aforementionedEfscott''userprofileandtransmitted images(although theaddress
        on thelicense wasdifferent). A criminalhistory record check revealed thatin
        2012, TRA DER w as arrested by the Port St. Lucie Police D epartm ent for
        Prom oting a Sexual Perform ance by a Child,Lewd Behavior,and Possession of
        Child Pornography. Those charges w ere dropped/abandoned, and TR ADER
        pleadednocontestandhadanadjudicationwithholdofonlyFelonyChildNeglect.
        R ecords checks also show ed that in Decem ber 2016,TR AD ER w as arrested for
        Lew d Behavior- M olesting a V ictim lessthan 12 yearsofage.

               H SIFortPierce established surveillance ofthe targetresidence. A fem ale
        child,approxim ately tw o years of age,w as seen entering the residence. A round
        11:51p.m .,federalmagistrateJudgeW illiam M atthewm an signed asearchwarrant
        authorizing the search of the targetresidence to include com puters,sm artphones,
        and other electronic storage devices.The w arrant was executed around 1:10 a.m .
        on June 1.

                TR AD ER w as located in the residence. lnside the house, num erous
        electronic storage devicesw ere found thatcontained child pom ography,including
        a Sam sung SM -G 920T sm artphone,an LG ()6 sm artphone,a 16G B San D isk SD
        card, a W D M y Passport Ultra external hard drive, a Sam sung SGH-T999
        smartphone;ninemediastoragecards(consistingoftwoSD cards,fourmicro SD
        cards,and three SlM cardsl;and a Toshiba C65517-55202 Laptop Computer
        (COUNT 3 - Possession of matter containing visual depictions of sexual
        exploitationofminors). AllofthesedevicesweremanufacturedoutsidetheState
        of Florida and therefore previously traveled in interstate or foreign com m erce.
        M any ofthe devices w ere fotm d on ornearthe floorundera DV D storage cabinet
        in TRA DER 'S bedroom , concealed behind a board. Som e of the child
        pornography found on these devicesw asproduced by TR AD ER and som ehad been
        dow nloaded from the internetby TRA DER or sent by another person over the
        internetto TRAD ER .

                One ofthe SD cards revealed TRA DER 'S sexualabuse of m inor fem ales,
        including tçvictim # 2''in CountFourofthe lndictm entand K<victim //3 in Count
        Five ofthe lndictm ent,which sexualabuse occurred during the tim e fram esalleged
        in Counts Four and Five ofthe Indictm entand w hich abuse w as recorded by--or
        transferred onto--electronic devicesthatpreviously traveled in interstateorforeign
        commerce.(COUNTS 4& 5-Productionofmaterialcontainingvisualdepictions
        ofsexualexploitationofminors). TheSD card alsorevealedmoreofTRADER'S
        online child ponzography activity,and hiscollection ofonline child pornography.
        The SD card appeared to be used as additionalstorage for the phone,w ith folders
        for various applications. One ofthe folders was for the Kik app. In that folder
Case 2:17-cr-14047-DMM Document 22 Entered on FLSD Docket 09/29/2017 Page 4 of 8




         w as an im age dated October 5,2016,which showed TR ADER seated on a couch
         with his pants pulled down,exposing his erect penis, w ith ttvictim //2 in the
         indictment hugging TRADER and looking at the cam era as TRADER took a
         Etselfie''stylephotograph ofthevictim inchesaway from hiserectpenis.

                A prelim inary exam ofthe W estem D igitalhard drive revealed itcontained
        m ultiple foldersw ith overa thousand im agesand videosofchild pornography. One
        ofthe folderswastitled,çç  picsofm ewith kids.'' The foldercontained num erous
        im agesofTRADER engaged in sexualexplicitconductwith ttvictim #2, including
        thevictim 'sm outhon TRADER'Spenis. Theimagesdatea1ltheway f'         rom atleast
        the September2015timefram e,when ççvictim #2''wastwo yearsold.

               Prelim inary forensic analysis of SD cards and other seized electronic
        storagedevices/m ediaalso revealed atleastthe following,within thetim e frames
        alleged in the indictm ent:

                   * Photos and videos of TRA DER touching and digitally penetrating
                     and m anipulating the vagina ofttv ictim //3'9;
                   * Photosand videos ofTRAD ER pulling back underwearon %%v ictim
                     //3'';
                   * Photos and videos of TR AD ER 'S erectpenis in close proxim ity of
                     Kçv ictim :
                               /42''4
                   * Videos ofTRADER ejaculating nextto t<victim #3's''head and
                     digitally penetrating hervagina;
                   * V ideos ofTR AD ER telling ttv ictim #2,''w ho w astwo yearso1d at
                      thetime,tokisshispenis(and shedoes);
                   * thousands of photos and videos of child pornography dow nloaded
                     from theinternet,includingthesexualabuseofinfantsandtoddlers;
                   * Onlinechatsbetween TRADER andotherindividualsinvolvingthe
                     exchange ofchild pornography.

               These factsdo notconstitute a11ofthe facts know n to the govem m entin thiscase;
        thevolum eofchild pornography contained on thedevicesseized in thiscaseislarge.


        1,ScottJoseph Trader,am awareofandunderstandthenatureofthechargestowhich
 I am pleading guilty,becauseI have discussed the charges and whattheprosecutor m ustprove

  to convictm e with my J/f/rae-p. Iunderstand thattheUnitedStatesmustprovethefollowing

 facts(or% !e#lea/y')oftheoffensesbeyondareasonabledoubt:
Case 2:17-cr-14047-DMM Document 22 Entered on FLSD Docket 09/29/2017 Page 5 of 8




        C ount 1:Enticem ent ofa m inorto enzaze in sexualactivitv - 18 U .S.C.$2422(191

           First,thatthe Defendantknowingly persuaded, induced,enticed,orcoerced EEvictim :
                                                                                          //1''

  in the Indictm entto engage in sexualactivity'
                                               ,


                   The term tçsexualactivity for which any person can be charged with a
                   crim inaloffense''includestheproduction ofchild pornography, asdefined
                   in section 225648),which saystç(8)4tchildpom ography''means ...any
                   visual depiction . . . where- the production of such visual depiction
                   involvestheuseofam inorengagingin ççsexuallyexplicitconduct,''a term
                   definedin 18USC 2256(2)(A)(v)to includettlasciviousexhibition ofthe
                   genitalsorpubic area ofany person,which,in turn involves a six-factor
                   test.2

          Second,thatthe D efendantused a facility ofinterstate com m erce to do so,

                   A telephone,a cellular telephone, a com puter,and the intenw tare a11each
                   afacility ofinterstatecom merce.

          Third,when theDefendantdid theseacts,Etvictim #155in the indictmentwaslessthan 18

  years old;and

          Fourth,oneormoreoftheindividualts)engagingin thesexualactivitycouldhavebeen
  charged with acrim inaloffenseunderthe 1aw ofFlorida. A s a m atter of law the follow ing acts

  are crim esunder Florida 1aw .:

                   FloridaStatute827.071 Sexualpeformanceby achild;penalties.-
                   (1) Asusedin thissection,thefollowingdefinitionsshallapply:

  1 11thCir.Pattern lnstruction0 92.2

 2 The six-factorçilasciviousexhibition''testarticulated in United Statesv. Dost
                                                                               ,636F.Supp.828,832 (S.D.Cal.
 1986)andapprovedbyUnitedstatesv.Smith,459F.3d1276,1296n.17(11thCir.2006),andwhichexplicitlyappears
 inaseparate11thcircuitpatternjuryinstructionis:
 (1)whetherthefocalpointofthevisualdepictionisonthechild'sgenitaliaorpubicarea;
 (2)whetherthesettingofthevisualdepictionissexuallysuggestive,i.e.,inaplaceorposegenerallyassociatedwith
 sexualactivity'
               ,
 (3)whetherthechildisdepictedinanunnaturalpose,orininappropriateattire,consideringtheageofthechild;
 (4)whetherthechildisfullyorpartiallyclothed,ornude;
 (5)whetherthevisualdepictionsuggestssexualcoynessorawillingnesstoengageinsexualactivity;and
 (6)whetherthevisualdepictionisintendedordesignedtoelicitasexualresponseintheviewer.
Case 2:17-cr-14047-DMM Document 22 Entered on FLSD Docket 09/29/2017 Page 6 of 8




                           (h) ftsexual conduct'' means actual or simulated sexual
                          intercourse, deviate sexual intercourse, sexual bestiality,
                          m asturbation,or sadom asochistic abuse;actuallew d exhibition of
                          the Eenitals; actual physical contact w ith a person's clothed or
                          unclothed genitals,pubic area,buttocks, or, if such person is a
                          fem ale,breast,w ith the intentto arouse orgratify the sexualdesire
                          ofeitherparty;orany actorconductw hich constitutessexualbattery
                          orsim ulatesthatsexualbattery isbeing orwillbecom mitted.
                  (3) A personisguiltyofpromotingasexualpedbrmancebyachildwhen,
                  know ing the characterand contentthereof, he or she produces,directs,or
                  prom otes any perform ance w hich includes sexual conduct by a child
                  less than 18 years ofage. W hoever violates this subsection is guilty of a
                  felony of the second degree, punishable as provided in s. 775.082, s.
                  775.083,or s.775.084.
                  (5)(a) Itisunlawfulforany person toknowinglypossess,control,or
                  intentionally view a photograph, m otion picture, exhibition, show ,
                  representation,im age,data,com puter depiction,or other presentation
                  w hich, in w hole or in part, he or she know s to include any sexual
                  conductby a child.Thepossession,control,orintentionalviewingofeach
                  such photograph,m otion picture,exhibition, show,im age,data,computer
                  depiction, representation, or presentation is a separate offense. lf such
                  photograph,m otion picture,exhibition, show ,representation,im age,data,
                  com puterdepiction,orotherpresentation includessexualconductby m ore
                  than one child, then each such child in each such photograph, m otion
                  picture,exhibition,show ,representation,image, data,com puterdepictiony
                  or other presentation that is know ingly possessed, controlled, or
                  intentionally viewed is a separate offense. A person who violates this
                  subsection com m its a felony ofthe third degree, punishable asprovided in
                  s.775.082,s.775.083,ors.775.084.


    C ount2:Distribution ofm aterialcontainint visualdepictions ofsexualexploitation of
                              minors-18 U.S.C.%% 2252(a)(2)& (b)(1)3
         First,theDefendantknowinglydistributed avisualdepiction;

         Second,thedepiction wasshippedortransported ininterstateorforeir com mercebyany

 m eans,including com puteror intem et;




 3 11thCir.Pattern lnstruction 083.2
Case 2:17-cr-14047-DMM Document 22 Entered on FLSD Docket 09/29/2017 Page 7 of 8




          Third,producing thevisualdepiction involved using am inorengaged in sexuallyexplicit

  conduct;

          Fourth,the depiction isofa m inorengaged in sexually explicitconduct;and

          Fifth,the D efendantknew thatatleastone perfonuer in the visualdepiction w as a m inor

  and knew thatthedepiction showedthem inorengaged in sexually explicitconduct.

                 The term ççsexually explicitconduct''m eans actualor sim ulated'
                                                                                .

                        @       sexual intercourse, including genital-genital, oral-genital, anal-
                                genital,ororal-analcontact,whetherbetween personsofthe sam e
                                or opposite sex;
                        *      bestiality',
                        *      m asturbation;
                                sadistic orm asochistic abuse'
                                                             ,or
                          *           lasciviousexhibitionofthegenitalsorpubicareaofanyperson(See
                                      abovefootnoteforsix-factortest).

  C ount3:Possession ofm atter containint visualdepictions ofsexualexploitation ofm inors.
                              -   -     -     -    -     -     -


                                      18 U.S.C.11 2252(a)(4)(B)& (b)(2)4
         First,the defendantknowingly possessed a visualdepiction;

         Second,the depiction w as shipped ortransported in Interstate orforeign com m erce by any

 m eans,including by the lnternet;

         Third,producing thevisualdepiction involved using am inorengaged in sexually explicit

 conduct'
        ,

         Fourth,the depiction is of am inor engaged in sexually explicitconduct;and

         Fifth, D efendantknew thatatleastone perform erin the visualdepiction w asam inorand

 knew thatthe depiction show ed the m inorengaged in sexually explicitconduct.




 4 l1th Cir.PatternInstruction 083.
                                  4A
    Case 2:17-cr-14047-DMM Document 22 Entered on FLSD Docket 09/29/2017 Page 8 of 8
*




       C ounts4 & 5:Production ofm aterialcontainine visualdepictions ofsexualexploitation of
                                          m inors.18 U.S.C 112251(a)& fe)S
               First, an actualm inor,thatis,arealperson w ho waslessthan 18 years old, wasdepicted;

               Second,the D efendantem ployed, used,persuaded,induced,enticed, orcoerced the m inor

      to engage in sexually explicitconductforthe purpose ofproducing a visualdepiction;

               Third,the visualdepiction wasproduced using m aterialsthathad been m ailed, shipped,

      ortransported in interstateorforeign comm erceby any m eans, including by computer;

                         The term ççproducing'' m eans producing, directing, m anufacturing,
                         issuing,publishing,oradvertising.

                         Congress did not limit the çGproduction'' of child pornography as
                        prohibitedbyj2251(a)tothemomentofrecording,andEEproduction''can
                        encompassembodyingtheimagesorvideoin digitalm edia, such asa hard
                        drive ordisk.United States v.Pattee,820 F.3d 496,511(2d Cir.2016),
                                                                                         '
                        United States v.Foley,740 F.3d 1079,1081-86 (7th Cir.2014),
                                                                                  .United
                        Statesv.Poulin,631F.3d 17,22(1stCir.2011)

                                                          BEN JA M W G .G REEN BERG
                                                          A CTW G UN ITED TA TES A TTO RN EY

      Ilate:                                   B Y:         '
                                                          M AR N G
                                                              ISTAN T UN IT       STA TES A TTORN EY
                                                               ,7             s

     Ilate. &)             t                          &
                                                          FLETCH ER PEA CO CK
                                                          A TTO RN EY FO R D EFEN DA N T
     Ilate: i/ef//y
                                                          SCO TT JO SEPH TRA DER
                                                          D EFEN DA N T




     5 l1thCir.Pattern lnstruction O 82
